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PS8A
                                      United States Probation Office
                                         For the District of Utah

                            Report on Defendant Under Pretrial Supervision

Name of Offender: Dana Jean Steele                         Docket No.: 1:21CR00073-002

Name of Judicial Officer: Honorable Daphne A. Oberg
                          U.S. Magistrate Judge

Date of Release: June 17, 2021




On June 17, 2021, the defendant was released after appearing on charges of Possession of
Methamphetamine with Intent to Distribute and Felon in Possession of Firearms, under the following
conditions:

(a) maintain or actively seek verifiable employment and/or maintain or commence an educational
    program as approved by the pretrial officer.

(b) abide by the following restrictions on his/her personal associations, place of abode, or travel:

       ☒ (i) maintain residence and do not change without prior permission from the pretrial officer.
       ☒ (ii) not travel outside the state of Utah without prior permission from the pretrial officer.
       ☒ (iii) not travel outside the United States without prior permission from the Court.

(d) avoid all contact with those named persons, who are considered either alleged victims, potential
    witnesses and/or codefendants.

(e) report on a regular basis to the pretrial officer as directed.

(f)    not possess a firearm, ammunition, destructive device, or other dangerous weapon.

(h) not use or unlawfully possess a narcotic drug and other controlled substances defined in 21
    U.S.C.§ 802 unless prescribed by a licensed medical practitioner. Prescriptions should be
    reported to the pretrial officer.

(i)    submit to drug/alcohol testing as directed by the pretrial officer; defendant shall pay all or part of
       the cost of the drug testing:

       ☒ (2) if testing reveals illegal drug use, the court will be notified immediately, with further
            action to be determined.

(k) participate in a program of inpatient or outpatient substance abuse therapy and counseling if
    deemed advisable by the pretrial officer; defendant shall pay all or part of the cost of the program,
    based upon your ability to pay as the pretrial officer determines.
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(m) surrender any passport to the United States Clerk of the Court, District of Utah.

(s)   participate in one of the following location restriction program components and abide by its
      requirements as the pretrial officer instructs:

      ☒ (i) Curfew. You are restricted to your residence every day ☒ as directed by the pretrial
            officer; or

(u) be monitored by the form of location monitoring technology, at the discretion of the pretrial
    services officer, and abide by all technology and program requirements. The defendant shall pay
    all or part of the costs of participation in the location monitoring program as directed by the court
    and the pretrial services officer. Due to the ongoing pandemic, the location monitoring equipment
    shall be installed no more than 14 days after release or sooner if reasonably practicable. Prior to
    installation, the person under supervision will be monitored by the U.S. Probation Office through
    telephone contact, virtual means (i.e., Zoom, FaceTime, Google Duo, SmartLink), and socially
    distant in-person meetings if necessary.

(v) submit person, residence, office, or vehicle to a search, conducted by the pretrial officer at a
    reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
    evidence of a violation of a condition of release; failure to submit to a search may be grounds for
    revocation; the defendant will warn any other residents that the premises may be subject to
    searches pursuant to this condition.

After receiving a report indicating the defendant had contact with Salt Lake City Police Department on
August 16, 2021, at about 2215 hours, this officer contacted the defendant and inquired as to her
whereabouts at that time. The defendant admitted she had been at a friend’s house drinking alcohol to
excess outside her directed curfew. The defendant was admonished and agreed to discuss this with her
therapist. The defendant also indicated she would start attending Alcoholics and Narcotics Anonymous
classes in order to garner more sober support.

This officer requested the police report from Salt Lake City Police Department. If additional details are
discovered regarding further noncompliance, this officer will notify the Court in the form of a petition.
In the meantime, the above actions seem to address the issues at hand; however, the defendant was told
further noncompliance would result in a formal petition being sent to the Court.

If the Court desires more information or another course of action, please contact me at 801-680-1566.

                                                               Respectfully submitted,


                                                               ______________________________
                                                        By     Annie Carr
                                                               U.S. Pretrial Services Officer
                                                               Date: August 18, 2021
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THE COURT:

X Approves the request noted above
☐
☐ Denies the request noted above
☐ Other

                                              ___________________________
                                              Honorable Daphne A. Oberg
                                              U.S. Magistrate Judge
                                              Date: August 18, 2021
